         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
                  _____________________________

                         No. 1D2024-1182
                  _____________________________

GARY SELWAY,

    Petitioner,

    v.

FLORIDA COMMISSION ON
OFFENDER REVIEW,

    Respondent.
                  _____________________________


Petition for Writ of Certiorari—Original Jurisdiction.


                         August 23, 2024

PER CURIAM.

    The Court denies the petition for writ of certiorari on the
merits.

ROWE, KELSEY, and LONG, JJ., concur.
               _____________________________

    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
               _____________________________
Gary Selway, pro se, Petitioner.

Rana Wallace, General Counsel, Florida Commission on Offender
Review, Tallahassee, for Respondent.




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